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     Scott J. Sagaria (SBN 217981)
1    Elliot W. Gale (SBN 263326)
     Joe Angelo (SBN 268542)
2
     SAGARIA LAW, P.C.
     2033 Gateway Pl., 5th Floor
3
     San Jose, CA 95110
4
     Telephone: (408) 279-2288
     Facsimile: (408) 297-2299
5
     Attorneys for Plaintiff
6

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8                                     UNITED STATES DISTRICT COURT
9                                    NORTHERN DISTRICT OF CALIFORNIA

10
     PATRICIA JONES,                                     Case No.: 3:16-cv-05686-JST
11
                        Plaintiff,
12
          v.                                             STIPULATION FOR DISMISSAL OF
13                                                       DEFENDANT EXPERIAN
                                                         INFORMATION SOLUTIONS, INC.;
14
     EXPERIAN INFORMATION SOLUTIONS,                     [PROPOSED] ORDER
15
     INC., et al,

16                      Defendants.

17

18

19                TO THE COURT, CLERK OF COURT, AND ALL PARTIES:
20                IT IS HEREBY STIPULATED by and between plaintiff Patricia Jones and defendant
21   Experian Information Solutions, Inc. that Experian Information Solutions, Inc. be dismissed
22   from this action with prejudice pursuant to Federal Rules of Civil Procedure, Rule 41(a)(2),
23   and that each party shall bear its own attorneys’ fees and costs.
24   //
25   //
26   //
27   //
28   //

               STIPULATION FOR DISMISSAL OF DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.;
                                            [PROPOSED] ORDER -1-
               Case 3:16-cv-05686-JST Document 65 Filed 05/12/17 Page 2 of 2



     DATED: May 12, 2017                                 Sagaria Law, P.C.
1
                                                  By:    /s/ Elliot Gale
2                                                        Elliot Gale
3
                                                         Attorney for Plaintiff Patricia Jones

4

5
     DATED: May 12, 2017                                 Jones Day
6
                                                  By:     /s/ Benjamin Chung Lee
7                                                        Benjamin Chung Lee
                                                         Attorney for Defendant Experian
8
                                                         Information Solutions, Inc.
9

10
     I, Elliot Gale, am the ECF user whose identification and password are being used to file this
11
     Stipulation. I hereby attest that Benjamin Chung Lee has concurred in this filing.
12

13
     /s/ Elliot Gale
14

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16
                                         [PROPOSED] ORDER
17
             Pursuant to the stipulation of the Parties, Experian Information Solutions, Inc. is
18
     dismissed with prejudice.
19
             IT IS SO ORDERED.
20

21

22

23
     DATED:            May 12, 2017
24                                                       Hon. Jon S. Tigar
                                                         UNITED STATES DISTRICT JUDGE
25

26

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         STIPULATION FOR DISMISSAL OF DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.;
                                      [PROPOSED] ORDER -2-
